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5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,                No.     2:16-cr-00046-GEB
9                  Plaintiff,
10        v.                                  ORDER DENYING DEFENDANT’S MOTION
                                              TO DISMISS PARAGRAPHS 9 THROUGH
11   ZALATHIEL AGUILA,                        12 IN COUNTS ONE THROUGH FOUR IN
                                              THE SUPERSEDING INDICTMENT
12                 Defendant.
13

14              Defendant      Zalathiel     Aguila     moves    for    dismissal     of

15   paragraphs   9   through    12    in    Counts    One   through    Four   in    the

16   superseding indictment arguing: “first, the same two separate

17   offenses are charged in each of those four counts in violation of

18   Rule 8(a) of the Federal Rules of Criminal Procedure; second, one

19   of those two offenses is barred by the applicable statute of

20   limitations.”    Def.’s    Mot.    to    Dism.    at    1:20-23,   ECF    No.   40.

21   Defendant also argues “Paragraph 8 of Count One alleges that the

22   fraud on the homeowners and the financial institutions took place

23   between September of 2004 and February of 2008,” and since the

24   “Superseding Indictment . . . was filed on April 14, 2016, more

25   than five years after February of 2008, the charged offense in

26   paragraphs 9 through 12 would only be timely if the offense

27   affected a financial institution” and no facts explains such an

28   affect. Id. at 6:27-28, 7:5-10.
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1               The United States of America (“government”) opposes the

2    motion arguing, inter alia, Defendant’s dismissal motion against

3    “Counts One through Four—sounds in the doctrine of duplicity,”

4    which “‘is the joining in a single count of two or more distinct

5    and separate offenses . . . ’”          Gov’t.’s Opp. at 2:11-12, ECF No.

6    41. (citing United States v. UCO Oil Co., 546 F.2d 833, 835 (9th

7    Cir. 1976)). The government argues that “Count One charges a

8    single conspiracy, in violation of 18 U.S.C. § 1349, to commit

9    two    underlying   offenses[;    and    b]ecause   a   single    charge   of

10   conspiracy to commit more than one offense does not violate the

11   rule   against   duplicity,”     Defendant’s   dismissal   motion    against

12   Count One should be denied.         Id. 3:14-16, 15-16. Defendant has

13   not shown grounds for dismissal of Count One.

14              The government also argues that the remainder of the

15   motion should also be denied. Defendant has not shown that the

16   remainder of his motion should be granted, therefore it is also

17   denied.

18               Accordingly, Defendant’s dismissal motion is denied.

19   Dated:    November 20, 2017

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